                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER


 UNITED STATES OF AMERICA                       )
                                                )           No. 4:06-CR-8
 v.                                             )
                                                )           Chief Judge Curtis L. Collier
 RICKYE PACK                                    )


                                           ORDER

        On March 5, 2007, United States Magistrate Judge William B. Carter received a report of

 Defendant’s forensic evaluation (Court File No. 365), which was filed under seal at Defendant’s

 request. (Court File Nos. 363, 364.)

        On April 3, 2007, Defendant filed a waiver of competency hearing (the “Waiver”) (Court

 File No. 372). After reviewing the forensic report and considering the Waiver, Judge Carter

 submitted a Report and Recommendation (“R&R”), which finds Defendant is not suffering from a

 severe mental disorder for which he would need custody for care and treatment in any special

 facility or Federal Medical Center (Court File No. 373). The R&R also recommends Defendant

 receive substance abuse treatment while incarcerated. Defendant filed no objections to the R&R.

        Accordingly, this Court ACCEPTS and ADOPTS Judge Carter’s R&R (Court File No.

 373). The Court will make a note for Defendant’s sentencing, and include a recommendation to the

 Bureau of Prisons that Defendant receive substance abuse treatment.


        SO ORDERED.

        ENTER:

                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE



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